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 6   Facsimile: (650) 812-3444                         WINSTON CHENG

 7   Attorneys for Plaintiff
     OOMA, INC.
 8

 9                                    UNITED STATES DISTRICT COURT

10                                 NORTHERN DISTRICT OF CALIFORNIA

11

12   OOMA, INC., a Delaware corporation,               Case No. 3:18-cv-02032-JD

13                             Plaintiff,              JOINT STIPULATION AND [PROPOSED]
                                                                             XXXXXXXXXX
                                                       ORDER OF DISMISSAL OF ACTION
14                   vs.

15   FANTEM, INC., a Delaware corporation;
     WINSTON CHENG, an individual; and
16   DOES 1–50, inclusive,

17                             Defendants.

18

19             Plaintiff, Ooma, Inc. (“Ooma”), and Defendants, Fantem, Inc. and Winton Cheng

20   (collectively “Fantem”), by and through their undersigned counsel, advise the Court that this

21   action has been settled and hereby stipulate under Federal Rule of Civil Procedure 41(a)(2) to a

22   dismissal with prejudice, of all claims, counterclaims and defenses filed or otherwise asserted in

23   this action. Each party shall bear his or its own costs and attorneys’ fees in connection with this

24   action.

25   Dated: June 3, 2019                          CARR & FERRELL LLP
26
                                                  By     /s/ Robert J. Yorio
27                                                     ROBERT J. YORIO
28
                                                  Attorney for Plaintiff OOMA, INC.
                                                  1
                    JOINT STIPULATION AND [PROPOSED] ORDER OF DISMISSAL OF ACTION
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                                                 06/03/19 Page 2 of 2



 1   Dated: June 3, 2019                           FREEBORN & PETERS LLP
 2
                                                   By     /s/ Jason P. Stearns
 3
                                                        JASON P. STEARNS
 4
                                                   Attorney for Defendants
 5                                                 FANTEM, INC. and WINSTON CHENG

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 9                                        XXXXXXXXXX
                                          [PROPOSED] ORDER
10          Pursuant to the Stipulation of the parties under Federal Rule of Civil Procedure 41(a)(2),
11          IT IS HEREBY ORDERED that this action be dismissed with prejudice as to all claims,
12   causes of action, and parties, with each party to bear their own attorneys’ fees and costs.
13          IT IS SO ORDERED.
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15   Dated: June 6, 2019
                                                   HONORABLE JAMES DONATO
16                                                 UNITED STATES DISTRICT COURT JUDGE
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                  JOINT STIPULATION AND [PROPOSED] ORDER OF DISMISSAL OF ACTION
